 Case: 6:09-cr-00016-KKC        Doc #: 805     Filed: 03/19/10    Page: 1 of 8 - Page ID#:
                                             4941



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )     Criminal Action No. 6: 09-16-S-DCR
                                              )
 V.                                           )
                                              )
 WILLIAM B. MORRIS, et al.,                   )       MEMORANDUM OPINION
                                              )
        Defendants.                           )

                                     ***     ***     ***

       Defendant William B. Morris sought to present opinion testimony at trial of John N.

Craft, C.P.A., regarding the net profits of Morris’ company, B & J Transfer, Inc., derived

from contracts with Clay County and the City of Manchester. The United States moved to

exclude Mr. Craft’s testimony on this issue. [See Record No. 801] The Court has previously

sustained the government’s motion. This Memorandum Opinion will further explain the

Court’s ruling.

       I.     Introduction

       Prior to trial, Defendants William B. Morris and Debra L. Morris disclosed their intent

to call C.P.A. John Craft to express opinions concerning, inter alia, the net profits realized

by B & J Transfer from its contracts with Clay County and the City of Manchester. [See

Record No. 731] Defendant Stanley Bowling also filed a pretrial notice of intent to introduce




                                              -1-
 Case: 6:09-cr-00016-KKC        Doc #: 805     Filed: 03/19/10    Page: 2 of 8 - Page ID#:
                                             4942



opinion testimony. [Record No. 727] Bowling stated that his proposed expert, C.P.A.

Charles Stivers,

       will testify that the forfeiture sought by the United States represents gross
       revenues from the subject contracts [with the City of Manchester], and that a
       gross revenue figure does not represent the amount that B & B Excavating,
       Inc., and/or Stanley Bowling realized from the contracts; and that legitimate
       operating expenses, such as fuel and auto[] insurance, professional services,
       materials, office expense[s] and payroll are actually incurred and properly
       deductible.

[Id.] As indicated by Bowling’s disclosure and statements of counsel during oral argument

on the United States’ motion to exclude, Bowling and the Morrises seek to introduce this

opinion testimony to establish what they believe is the appropriate measure of assets to be

forfeited to the United States in the event they are convicted under Count Two of the

Superseding Indictment. It is noteworthy that the Defendants do not contest that they have

received profits from their respective contracts. It is admitted that they have done so.

Instead, they seek to contest the amount of profits received.

       In Count Thirteen of the Superseding Indictment, the United States seeks forfeiture

of money and other assets pursuant to 18 U.S.C. § 982 upon conviction of the violation of

18 U.S.C. § 1956 as alleged in Count Two. [See Record No. 272, p. 23] The assets sought

under Count Thirteen are described as “including, but not limited to: . . . $1,513,512.36[,]

which constitutes the sum involved in the violation of 18 U.S.C. § 1956(h).” [Id.] The

United States also seeks forfeiture under RICO based on the offense alleged in Count One

of the Superseding Indictment. [See id., p. 21-22] However, the parties have raised the issue



                                              -2-
 Case: 6:09-cr-00016-KKC           Doc #: 805     Filed: 03/19/10     Page: 3 of 8 - Page ID#:
                                                4943



of proceeds only with respect to money laundering under § 1956. Thus, the Court will limit

its analysis to that statute.

       II.     “Proceeds” under the Money-Laundering Statute, 18 U.S.C. § 1956

       In Count Two of the Superseding Indictment, the defendants are alleged to have

conspired to engage in money-laundering in violation of 18 U.S.C. § 1956(h). [Record No.

272] Section 1956 provides, in pertinent part:

       Whoever, knowing that the property involved in a financial transaction
       represents the proceeds of some form of unlawful activity, conducts or
       attempts to conduct such a financial transaction which in fact involves the
       proceeds of specified unlawful activity —

               (A)(I) with the intent to promote the carrying on of specified
                      unlawful activity; or
                      ...

               (B)     knowing that the transaction is designed in whole or in part —

                       (I)      to conceal or disguise the nature, the location, the
                                source, the ownership, or the control of the
                                proceeds of specified unlawful activity
                       ...

       shall be sentenced to a fine of not more than $500,000 or twice the value of the
       property involved in the transaction, whichever is greater, or imprisonment for
       not more than twenty years, or both.

18 U.S.C. § 1956(a)(1)(A)(I), (B)(I). The statute further provides that “[a]ny person who

conspires to commit any offense defined in [§ 1956] . . . shall be subject to the same penalties

as those prescribed for the offense the commission of which was the object of the

conspiracy.” 18 U.S.C. § 1956(h).



                                                 -3-
    Case: 6:09-cr-00016-KKC       Doc #: 805     Filed: 03/19/10       Page: 4 of 8 - Page ID#:
                                               4944



        The United States has presented evidence at trial that Defendants Bowling and Morris

helped buy votes for certain candidates and that as a result of this assistance, their respective

companies, B & B Excavating and B & J Transfer, were awarded contracts with Clay County

and the City of Manchester. Under the government’s theory, the violation of § 1956 was

payment under those contracts, because the contracts and the money the defendants received

under them constituted proceeds of unlawful activity — they were derived, indirectly, from

bribery (i.e., paying voters to vote for certain candidates) and extortion (i.e., demanding that

candidates “pay to play”).1 In other words, the United States alleges that Bowling and Morris

received, through their companies’ contracts with the city and county, money that had been

used to ensure the election of certain candidates through unlawful means.

        On May 20, 2009, Congress amended § 1956 by defining the term “proceeds,” which

had previously been left undefined in the statute. See 18 U.S.C. § 1956(c)(9). Following the

2009 amendment, “proceeds” is defined as “any property derived from or obtained or

retained, directly or indirectly, through some form of unlawful activity, including the gross

receipts of such activity.” Id. (emphasis added). The addition of this definition to the statute

was a direct response to the Supreme Court’s holding in United States v. Santos, 128 S. Ct.

2020, 2031 (2008), that the term “proceeds” in § 1956 was limited to profits. See, e.g., 155

Cong. Rec. S2072 (daily ed. Feb. 10, 2009) (statement of Sen. Bayh) (“[T]his bill would



1       The United States has also offered evidence of extortion or attempted extortion of candidates
for office. The money-laundering statute does not require that a defendant be personally involved
in the underlying specified unlawful activity, but only that he engage in a transaction involving the
proceeds of such activity with the requisite intent and knowledge. See 18 U.S.C. § 1956(a)(1).

                                                -4-
 Case: 6:09-cr-00016-KKC         Doc #: 805     Filed: 03/19/10     Page: 5 of 8 - Page ID#:
                                              4945



overturn the Supreme Court’s narrow and confusing decision in United States v. Santos and

clarify that, as used in the Money Laundering Control Act, the term ‘proceeds’ refers to the

total receipts — not simply the profits — of an illegal activity.”). Moreover, the forfeiture

provision associated with § 1956, 18 U.S.C. § 982, broadly defines the property subject to

forfeiture as “any property, real or personal, involved in such offense, or any property

traceable to such property.” 18 U.S.C. § 982(a)(1) (emphasis added). This expansive

definition suggests that deduction of costs and expenses from the forfeiture amount would

not be appropriate.

       Because Defendant Morris has raised the issue of ex post facto application of the new

definition of “proceeds,” the Court assumes, for purposes of the present analysis, that this

definition does not apply. However, as will be explained below, its existence, as well as the

legislative history surrounding its addition to the money-laundering statute, are still relevant

to some extent.

       Even before amendment of § 1956 to more clearly define “proceeds,” and before the

Supreme Court’s Santos decision, the Sixth Circuit had interpreted the term to mean gross

receipts. See United States v. Kratt, 579 F.3d 558, 560 (6th Cir. 2009) (citing United States

v. Prince, 214 F.3d 740, 747 (6th Cir. 2000); United States v. Haun, 90 F.3d 1096, 1101 (6th

Cir. 1996)). In Kratt, the court analyzed Santos and derived a two-prong test from the

Supreme Court’s plurality holding in that case. The Kratt court found that

       “[p]roceeds” does not always mean profits, as Justice Scalia concluded [in
       Santos]; it means profits only when the § 1956 predicate offense creates a
       merger problem that leads to a radical increase in the statutory maximum

                                               -5-
 Case: 6:09-cr-00016-KKC         Doc #: 805     Filed: 03/19/10   Page: 6 of 8 - Page ID#:
                                              4946



       sentence and only when nothing in the legislative history suggests that
       Congress intended such an increase.

579 F.3d at 562. To determine whether profits are the appropriate measure of proceeds under

§ 1956, then, the Court must ask (1) whether the predicate offense (i.e., the “specified

unlawful activity”) under § 1956 merges with the money-laundering offense such that a

defendant could be punished separately, and more severely, for money laundering arising out

of that underlying offense, and (2) if so, whether the legislative history suggests that

Congress intended this effect. See id.

       Justice Stevens, concurring in Santos, described “the ‘merger’ problem” under the

facts of that case as follows:

       Allowing the Government to treat the mere payment of the expense of
       operating an illegal gambling business as a separate offense is in practical
       effect tantamount to double jeopardy, which is particularly unfair in this case
       because the penalties for money laundering are substantially more severe than
       those for the underlying offense of operating a gambling business.

128 S. Ct. 2033 (Stevens, J., concurring). Justice Scalia’s plurality opinion explained the

merger problem this way:

       Anyone who pays for the costs of a crime with its proceeds — for example, the
       felon who uses the stolen money to pay for the rented getaway car — would
       violate the money-laundering statute. . . . Generally speaking, any specified
       unlawful activity, an episode of which includes transactions which are not
       elements of the offense and in which a participant passes receipts along to
       someone else, would merge with money laundering.

Id. at 2026-27.

       The above examples clearly indicate that the “merger problem” contemplated in

Santos is not an issue in this case, where the underlying RICO predicate offenses (bribery

                                               -6-
    Case: 6:09-cr-00016-KKC       Doc #: 805     Filed: 03/19/10       Page: 7 of 8 - Page ID#:
                                               4947



and extortion) were remote in time from the alleged money-laundering transaction (and, with

respect to extortion, not alleged to have been committed by the Morrises or Bowling) and the

expenses the defendants seek to exclude are operating costs (payroll, materials, etc.) of

otherwise legitimate businesses, not costs incurred in the underlying illegal activity. [See

Record No. 727, p. 2; Record No. 731, p. 2] To put it differently, the alleged violations of

the money-laundering statute (payments under the contracts) were acts completely separate

from the specified unlawful activities (bribery and extortion) allegedly underlying the RICO

violations, and there is thus no risk of merger.2

        Since, under the Kratt analysis, the Supreme Court’s Santos decision does not apply

in this case,3 the Court must look to prior Sixth Circuit precedent regarding the appropriate

measure of “proceeds” under § 1956. See Kratt, 579 F.3d at 563. As the Kratt court

recognized, the Sixth Circuit had found prior to Santos that “proceeds” under the money-

laundering statute includes gross receipts. See id. (citing Prince, 214 F.3d at 748; Haun, 90




2      As the United States explained during oral argument, the maximum statutory term of
incarceration for a RICO violation is twenty years. Further, the maximum punishment for the
underlying specified unlawful activity of extortion is twenty years — the same as the maximum
punishment for the money-laundering offense charged under § 1956(h). See 18 U.S.C. §§ 1951(a),
1956(a); Kratt, 579 F.3d at 563. Moreover, as the Superseding Indictment does not charge any of
the defendants with bribery, any double-jeopardy-type merger concerns with regard to that
underlying offense are negated. See Santos, 128 S. Ct. 2033 (Stevens, J., concurring).

3       Because the first prong of the Kratt test is not met, the Court need not reach the issue of
whether legislative history supports the use of gross receipts (rather than net profits) when
calculating “proceeds” under the money-laundering statute under the facts presented. See Kratt, 579
F.3d at 563. However, the Court notes that the May 2009 amendment to § 1956, in direct response
to Santos, defining “proceeds” to “includ[e] the gross receipts of [specified unlawful] activity,” 18
U.S.C. § 1956(c)(9), leaves no question that Congress intended such an outcome.

                                                -7-
 Case: 6:09-cr-00016-KKC        Doc #: 805     Filed: 03/19/10    Page: 8 of 8 - Page ID#:
                                             4948



F.3d at 1101). In Prince, the court used the Webster’s Dictionary definition originally

applied in Haun: “‘Proceeds’ include ‘what is produced by or derived from something (as

a sale, investment, levy, business) by way of total revenue.” 214 F.3d at 747 (citing Haun,

90 F.3d at 1101). Under this definition, the total amounts received by the defendants through

the contracts with the city and county, without deduction of operating expenses, constitute

“proceeds” under the money-laundering statute.

       III.   Conclusion

       Under the facts presented, the term “proceeds” under the money-laundering statute

is not limited to net profits. Instead, the gross amounts received by the defendants’

companies under the city and county contracts represent the money “involved in” the alleged

violation of § 1956 and thus subject to forfeiture under § 982. See 18 U.S.C. § 982(a)(1).

Moreover, opinion testimony on this issue is not relevant at this point in the case, as the

precise amount realized from the contracts has no bearing on whether the defendants did or

did not engage in a transaction prohibited by § 1956. Presentation of such testimony would

be irrelevant and unduly confusing under Rules 401 and 403 of the Federal Rules of

Evidence.

       This 19th day of March, 2010.




                                              -8-
